                                               0. Jan Beekhtus
                                        171 Alamo Hills Court
                                       Alamo, CA 94507-2243
                                         Tel. (925)743-0414
                                     E-mail:    Beekhuis@,comcast.net


 December        10,   2010

                                                                               FILED
 Clerk of the Bankruptcy Court
 230 N First Ave., flo        1
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 Phoenix, AZ 85003-1706
                                                                              OAMM'
                                                                                I IM"T- %OF'OUA
 Dear Sirs:                                                             FOR
                                                                              Mt
                        -2Q*37L1
 Case #   0. I   O-BK -N 4;e3@

 I received a Notice that thiscase has been abandoned but I do wish
                                                                    to object. I have
 been away and just got back from a business trip and have replied immediately
 I trust it will reach
                                                                                  - so
                       you before Dec 13.
 My debt was incurred by Greg Reichman PERSONALLY, not by AFG or GSG and
 is completely separate from those. (Where I was also invested but I did not claim on
 those)

 Therefore I re qu est additional hearin 9




G.J.Beekhuis

cc: Terry A Dake esq., Terry Dake Ltd.
11811 N. Tatum Blvd. # 3031
Phoenix, AZ 85028-1621




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